              Case 3:17-cv-05806-RJB Document 586 Filed 10/07/21 Page 1 of 2




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 5
                               UNITED STATES DISTRICT COURT
 6                            WESTERN DISTRICT OF WASHINGTON
                                        AT TACOMA
 7
       STATE OF WASHINGTON,                             C17-5806 RJB
 8
                              Plaintiff,
 9
                  v.
10
       THE GEO GROUP, INC., a Florida
11     corporation,

12                            Defendant.

13                                                      C17-5769 RJB
       UGOCHUKWU GOODLUCK
14     NWAUZOR, on behalf of all those
       similarly situated, and FERNANDO                 ORDER
15     AGUIRRE-URBINA, individually,

16                                    Plaintiffs,

17                v.

18     THE GEO GROUP, INC., a Florida
       corporation,
19
                                  Defendant.
20

21
            This matter comes before the Court sua sponte, on the State’s Motion for Clarification
22
     (filed in Washington v. The GEO Group, Inc., U.S. District Court for the Western District of
23
     Washington case number 17-5806, Dkt. 576), and on The GEO Group, Inc.’s (“GEO”) Motion
24


     ORDER - 1
              Case 3:17-cv-05806-RJB Document 586 Filed 10/07/21 Page 2 of 2




 1   for Reconsideration (filed in Washington v. The GEO Group, Inc., U.S. District Court for the

 2   Western District of Washington case number 17-5806, Dkt. 584 and in Nwauzor v. The GEO

 3   Group, U.S. District Court for the Western District of Washington case number 17-5769, Dkt.

 4   474). The Court has considered the pleadings filed regarding the motions, testimony heard and

 5   other evidence presented during the 11-day trial, and the remaining record.

 6          Jury Selection. The jury summons have been issued for Tuesday, October 12, 2021 and

 7   the jury questionnaires have been sent. Responses to the questionnaires will be available to

 8   counsel on Friday, October 8, 2021.

 9          State’s Motion for Clarification. Any responses to this motion should be filed in

10   CM/ECF by noon on Friday October 8, 2021.

11          GEO’s Motion for Reconsideration. Further pleadings on the motion for

12   reconsideration should be filed in CM/ECF by 5:00 a.m. Tuesday, October 12, 2021. Oral

13   argument on the motion will be held after jury selection on October 12, 2021 on Zoom. Plan on

14   15 minutes of argument per party.

15          IT IS SO ORDERED.

16          The Clerk is directed to send uncertified copies of this Order to all counsel of record and

17   to any party appearing pro se at said party’s last known address.

18          Dated this 7th day of October, 2021.

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20                                         A
                                           ROBERT J. BRYAN
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                                           United States District Judge
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     ORDER - 2
